         Case 2:15-cv-00079-LGW-BWC Document 278 Filed 10/16/19 Page 1 of 8



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION

 STATE OF GEORGIA, et. al.,

                         Plaintiffs,

v.                                                       Case No.: 2:15-cv-00079-LGW-BWC

 ANDREW WHEELER, et. al.

                         Defendants


         DEFENDANT-INTERVENORS’ MOTION TO HOLD CASE IN ABEYANCE


          This case involves a challenge to the Clean Water Rule. On September 12, 2019, the

 Environmental Protection Agency and the U.S. Army Corps of Engineers (the Agencies)

 announced that they had finalized and signed the repeal of the challenged Rule. 1 The Repeal

 Rule will imminently be published in the Federal Register and will become effective sixty days

 after publication. See 5 U.S.C. § 801(a)(3)(A) (noting effective date of “major” rules). In light of

 the repeal, the Court should hold the case in abeyance for 75 days or until the repeal goes into

 effect, whichever comes first. If, at that time, there is a dispute about whether the case is moot,

 the parties can file briefs addressing the issue if briefing would be helpful to the Court.

                                       STANDARD OF REVIEW

          The Court has broad discretion to stay proceedings to “control the disposition of the

 causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”


     1
       See EPA, Definition of “Waters of the United States” – Recodification of Pre-Existing
 Rules, https://www.epa.gov/wotus-rule/definition-waters-united-states-recodification-pre-
 existing-rules-pre-publication-version (last visited Oct. 14, 2019). The rule was submitted to the
 Federal Register for publication on September 18, 2019. Or. Cattlemen’s Ass’n v. U.S. Env’tl
 Protection Agency, 3:19-cv-00564, Joint Status Rpt., ECF No. 68 at ¶ 5 (D. Or. Oct. 1, 2019).
                                                   1
     Case 2:15-cv-00079-LGW-BWC Document 278 Filed 10/16/19 Page 2 of 8



Landis v. N. Am. Co., 299 U.S. 248, 254 (1936); see also Chudasama v. Mazda Motor Corp.,

123 F.3d 1353, 1366 (11th Cir.1997) (“[D]istrict courts enjoy broad discretion in deciding how

best to manage the case before them.”); Fitzer v. Am. Inst. of Baking, Inc., No. CV 209-169,

2010 WL 1955974, at *1 (S.D. Ga. May 13, 2010) (“A district court therefore has broad

discretionary authority in determining whether a stay is appropriate.”).

                         ARGUMENT AND CITATION OF AUTHORITIES

       The Repeal Rule will be published in the Federal Register imminently and will become

effective sixty days after publication. There is no reason for the Court or the parties to expend

finite resources resolving disputes that will soon become moot. The Court should hold the case in

abeyance. See, e.g., In re Aiken Cty., No. 11-1271, 2012 WL 3140360, at *1 (D.C. Cir. Aug. 3,

2012) (Kavanaugh, J., concurring) (holding case in abeyance when “case may soon be mooted

by Congress’s actions”); Ga. Power Co. v. Charter Commc’ns, LLC, No. 1:11-CV-4461-MHS,

2013 WL 12247041, at *5 (N.D. Ga. Oct. 10, 2013) (staying resolution of claims that “may

become moot depending on the resolution of [agency] proceedings”); Columbus Drywall &

Insulation, Inc. v. Masco Corp., No. 1:03-CV-580-JEC, 2005 WL 8154411, at *1 (N.D. Ga. Nov.

15, 2005) (staying action so that “the Court and the parties will be spared the expense attendant

to litigating a case that may subsequently be mooted or resolved . . . .”); Larios v. Perdue, 306 F.

Supp. 2d 1190, 1201 (N.D. Ga. 2003) (staying resolution of claims that were “reasonably likely”

to become moot in the near future); Tomlin v. United States, No. 16-60317-Civ-Rosenberg, 2017

WL 2574161, at *3 (S.D. Fla. Jan. 12, 2017) (Mag. J., report and recommendation), adopted by

2017 WL 2590176 (S.D. Fla. Jan. 31, 2017) (collecting cases and noting “[s]tays have also been

granted by courts when the issues presented might be otherwise mooted”); Morrissey v. Subaru

of Am., Inc., No. 1:15-CV-21106-KMM, 2015 WL 4512641, at *2 (S.D. Fla. July 24, 2015)



                                                 2
     Case 2:15-cv-00079-LGW-BWC Document 278 Filed 10/16/19 Page 3 of 8



(staying case because “[i]t would promote judicial economy and efficiency by avoiding the

litigation of issues that may become irrelevant or moot”); Atl. States Legal Found., Inc. v. Tyson

Foods, Inc., 682 F. Supp. 1186, 1190 (N.D. Ala. 1988) (staying Clean Water Act citizen suit

until upgraded wastewater facility was operational given the possibility that action would

become moot when upgraded system was operational); see also Akiachak Native Cmty. v. U.S.

Dep’t of Interior, 827 F.3d 100, 113 (D.C. Cir. 2016) (applying the “perfectly uncontroversial

and well-settled principle of law” that “when an agency has rescinded and replaced a challenged

regulation, litigation over the legality of the original regulation becomes moot”); West Virginia v.

U.S. Env’tl Protection Agency, No. 15-1363, Order Dismissing Case as Moot, ECF No. 1806952

(D.C. Cir. Sept. 17, 2019) (en banc) (dismissing challenge to repealed rule as moot, despite

newly filed challenges to repeal itself); Nat’l Advert. Co. v. City of Miami, 402 F.3d 1329, 1335

(11th Cir. 2005) (repeal or amendment of a regulation ordinarily moots legal challenges to

repealed regulation); Clean Water Action v. Pruitt, 315 F. Supp. 3d 72, 87-88 (D.D.C. 2018)

(holding that replacement of challenged agency action mooted case); Wright and Miller, 13C

Federal Practice and Procedure § 3533.6 at n. 53 (collecting cases and noting the same).

       As discussed in the Conservation Groups’ Response to Plaintiffs’ Motions for

Reconsideration, this is the approach the Northern District of Florida recently took in a similar

case involving a challenge to the Clean Water Rule. See Se. Stormwater Ass’n, Inc. v. U.S. Env’tl

Protection Agency, 4:15-cv-579-MW-CAS, Order Holding Case in Abeyance, ECF No. 89 (N.D.

Fla. Sept. 22, 2019). In that case, the court ordered that the case be held in abeyance for 75 days

at the behest of the Agencies, who argued, “[w]hile this case is not yet jurisdictionally moot,

abeyance of this case is appropriate until such time as the case may become moot.” Id., Joint

Position Statement, ECF No. 88 at 4 (N.D. Fla. Sept. 20, 2019).



                                                 3
       Case 2:15-cv-00079-LGW-BWC Document 278 Filed 10/16/19 Page 4 of 8



        The District of Oregon also adopted this approach. Or. Cattlemen’s Ass’n, 3:19-cv-

00564, Scheduling Order, ECF No. 69 (D. Or. Oct. 4, 2019); see also id., Order from USCA for

the 9th Circuit, ECF No. 70 (corresponding stay of appellate proceedings). Like the Florida case,

in Oregon Cattlemen’s Association, the Agencies proposed that the Court stay the case until 75

days after publication of the Repeal Rule. Id., Joint Status Report, ECF No. 68 at ¶ 7 (D. Or. Oct.

1, 2019).

        Plaintiffs’ arguments against holding the case in abeyance are unpersuasive. First,

contrary to Plaintiffs’ arguments, proceeding with a challenge to a repealed rule would waste the

parties’ and the Court’s resources. Contra Industry Intervenors’ Reply in Support of Motion for

Reconsideration, ECF No. 275, at 3 (arguing that because motions for reconsideration are fully

briefed, a stay “will not save judicial resources”). Although Plaintiffs’ Motions are briefed, the

Court must still consider and decide a critical aspect of the case: remedy. Determining a proper

remedy and vacating an administrative rule nationwide are not simply “ministerial step[s],” as

the Agencies and Plaintiffs suggest. See Agencies’ Response to Plaintiffs’ Motions for

Reconsideration, ECF No. 274, at 12.

        Second, holding the case in abeyance would not prejudice Plaintiffs or the Agencies.

Although Industry Intervenors complain that the Clean Water Rule will impose “far-reaching and

deleterious impacts” on industry groups during the short period until the repeal is effective, ECF

No. 263 at 5, they have not identified any specific harm or prejudice they will suffer in the short

period between now and the repeal’s effective date, despite having operated under the Clean

Water Rule, at least in some states, for over a year. 2 See, e.g., Ga. Power Co., 2013 WL



   2
     In fact, Industry Intervenors made public statements to the contrary the day the Repeal Rule
was announced. See, e.g., National Association of Manufacturers (NAM) News Room, EPA
Washes Away Controversial Waters Rule, NAM (Sept. 16, 2019), https://www.nam.org/epa-
                                                 4
     Case 2:15-cv-00079-LGW-BWC Document 278 Filed 10/16/19 Page 5 of 8



12247041, at *5 (granting stay where, inter alia, the stay “would not unduly prejudice” the

plaintiff). Industry Intervenors claim they are harmed by the “patchwork regulatory regime,” but

they offer no evidence of specific harm and no explanation of why a “patchwork” is inherently

harmful. Businesses and trade organizations routinely comply with different state regulations.

          Similarly, State Plaintiffs cannot complain that they will be prejudiced between now and

the repeal’s effective date, as the Court’s preliminary injunction remains in place. Nor can the

Agencies complain that they will be prejudiced by a stay. As discussed above, the Agencies

sought an identical stay to the one they now oppose in at least two other district courts. More

importantly, the Agencies control the timing of the Repeal Rule’s publication. It would be

improper for them to use the fact that the Repeal Rule has not yet been published to argue against

a stay.

          Third, the Court has broad discretion to hold the case in abeyance for prudential reasons

where doing so would not unduly disadvantage the parties. See Fitzer, 2010 WL 1955974, at *1-

2. Industry Intervenors cite Cincinnati Ins. Co. v. Thunderbolt Harbour Phase II Condominium

Ass’n, Inc., No. CV 414-222, 2015 WL 4075148, at *1 (S.D. Ga. July 1, 2015), for the

proposition that the court may not grant a stay unless the movant shows harm from lack of a stay.

Business Plaintiffs-Intervenors’ Reply in Support of Motion for Reconsideration, ECF No. 275,

at 5–6. In that case, however, the Court’s decision not to stay the case did not turn on lack of

harm to the movant. Instead, the Court denied the movant’s request for a stay pending the


washes-away-controversial-waters-rule-5847/?stream=policy-legal (“This decision by the EPA
clears away a vague and onerous rule . . . . With the 2015 WOTUS rule now rescinded, the NAM
is continuing its work to provide policy insight and expertise for a new version of the rule . . . .”
(emphasis added)); Statement from National Association of Home Builders (NAHB) Chairman
Greg Ugalde on Repeal of Obama-Era WOTUS Rule, NAHB (Sept. 12, 2019),
https://www.nahb.org/news-and-publications/press-releases/2019/09/nahb-chairman-on-repeal-
of-obama-era-wotus-rule.aspx (“By repealing the 2015 rule, the EPA and Corps have finally
provided consistency among all 50 states . . . . (emphasis added)).
                                                   5
        Case 2:15-cv-00079-LGW-BWC Document 278 Filed 10/16/19 Page 6 of 8



outcome of other litigation because “the two actions [did] not present the same issues.” Id. at *2.

Indeed, this Court has granted motions to stay without any mention of harm to the movant where,

as here, there are practical reasons to grant a stay and doing so would not unduly prejudice either

party. Fitzer, 2010 WL 1955974, at *2.

         Fourth, as discussed in the Conservation Groups’ Response to Plaintiffs’ Motions for

Reconsideration, Plaintiffs’ concern that the Clean Water Rule might “spring back to life,” ECF

No. 275 at 5, is not a basis to proceed during the short interim period between now and the

repeal’s effective date. The Conservation Groups are requesting a stay of limited duration: 75

days or until the effective date of the repeal, whichever comes first. Although case law and

common sense hold otherwise, if, once the repeal becomes effective, Plaintiffs believe the case is

not moot, 3 they may argue their position at that time.

         Finally, although the State Plaintiffs argue that the Court has rejected similar arguments

at earlier stages of the litigation, ECF No. 277 at 2–3, the posture here is fundamentally different.

The Repeal Rule has been signed, finalized, and submitted to the Federal Register for

publication. There is simply no basis to continue litigating challenges to the Clean Water Rule at

this point.



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      As explained in the Conservation Groups’ Response to Plaintiffs’ Motions for
Reconsideration, Plaintiffs’ position on this issue directly contradicts the position that many of
the same plaintiffs took just two months ago in similar litigation. That case challenged a 2015
EPA rule called the “Clean Power Plan” that was repealed and replaced in June 2019. Plaintiffs
in that case, including Georgia, West Virginia, Alabama, Florida, Indiana, Kansas, South
Carolina, Utah, Kentucky, American Forest & Paper Association, NAHM, and National Mining
Association, argued that challenges to the 2015 Rule were moot on the date the repeal was
published in the Federal Register. They argued, “[Even though the repeal is not yet effective,]
EPA has definitively ‘rescinded and replaced [the] challenged regulation,’ and the Court should
follow the ‘perfectly uncontroversial and well-settled principle of law’ and find that these cases
are now moot.” West Virginia v. U.S. Env’tl Protection Agency, No. 15-1363, Reply in Support
of Motion to Dismiss, ECF No. 1800343 (D.C. Cir. Aug. 1, 2019) (citing Akiachak Native Cmty.,
827 F.3d at 113).
                                                  6
     Case 2:15-cv-00079-LGW-BWC Document 278 Filed 10/16/19 Page 7 of 8



                                          CONCLUSION

       For the reasons addressed above, the Court should hold Plaintiffs’ Motions in abeyance

for 75 days or until the repeal is effective, whichever comes first. At that time, the parties can

brief whether the case is moot.

       Respectfully submitted this 16th day of October,

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                                                  7
     Case 2:15-cv-00079-LGW-BWC Document 278 Filed 10/16/19 Page 8 of 8



                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2019, I electronically filed the foregoing Defendant

Intervenors’ Motion to Hold Case in Abeyance with the Clerk of Court using the CM/ECF

system which will send notification of such filing to the attorneys of record.


                                                  s/ Megan Hinkle Huynh

                                                  Counsel for Defendant-Intervenors National
                                                  Wildlife Federation and One Hundred Miles




                                                 8
